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                                CRIMINAL COMPLAINT - CONTINUED




            I, Carlos Valles, being first duly sworn, hereby depose and state as follows:

                     I. INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since April, 2009. I am an investigator and law enforcement

officer of the United States, within the meaning of Title 18, United States Code, Section 2510(7)

that is an officer of the United States empowered by statute in the United States Code, and the

Colorado Statutory code. I am authorized under the Federal Rules of Criminal Procedure, Rule

41(a)(1)(C) as a Federal law enforcement officer who is engaged in enforcing the criminal laws, and

is within any category of officers authorized by the Attorney General to request a search warrant.

My primary duties consist of the enforcement of federal firearms and narcotics laws, including

conspiracy to violate firearms and narcotics laws. Prior to becoming an ATF Special Agent, I was

employed with the United States Border Patrol (USBP) as an Agent for approximately one (1) year.

During my employment with the USBP, I was charged with the duty of enforcing the violation of

Federal immigration, drug and firearms laws. While employed as an ATF Special Agent, I have

conducted and participated in hundreds of Federal investigations.


                                     II. PROBABLE CAUSE

       2.      Based on the facts set forth in this affidavit, there is probable cause to believe that

Jose Eduardo TRUJILLO, as well as other known and unknown co-conspirators, is engaged in

violations of Title 26 U.S.C. § 5861(d), any person to receive or possess a firearm which is not

registered in the National Firearms Registration and Transfer Record (NFRTR).


                        III. SUMMARY OF THE INVESTIGATION

   A. Criminal Intelligence Information Received


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                                CRIMINAL COMPLAINT - CONTINUED


       3.      On November 13, 2017, Bureau of Alcohol, Tobacco, Firearms & Explosives (ATF)

Special Agents (SAs) Carlos Valles and Alan Breneman received criminal intelligence from an ATF

Confidential Informant [hereinafter referred to as “CI”], regarding Andres LUNA, who was

believed to be distributing narcotics.


       4.      The CI reported to SAs that on or about November 10, 2017, the CI met a male

individual who introduced himself to the CI as “Buddha” at Dandy Dan’s Club located at 214 S.

Federal Blvd, Denver, CO 80219. “Buddha” also told the CI that “Buddha” was a Sureño 13 gang

member and that “Buddha” had been recently released from a five-year Federal prison sentence.

“Buddha” was later identified as Andres LUNA and will be hereinafter referred to as LUNA.


       5.      According to the CI, on November 10, 2017, the CI and LUNA began to engage in

casual conversation while at the club. During this conversation, the CI reported that LUNA

admitted to dealing in kilogram quantities of cocaine. The CI reported that LUNA was showing

photographs of LUNA in prison. The CI reported that LUNA told the CI that LUNA was currently

employed as a barber. The CI then affirmatively acknowledged LUNA’S claim regarding the

distribution of cocaine and explained to LUNA that the CI’s “boss” (an ATF undercover (UC)

Special Agent) would be interested in purchasing cocaine. However, the CI explained that he/she

needed to contact his/her “boss,” (a UC) because they pooled their money in order to purchase

narcotics. The CI further explained to LUNA that the CI’s “boss” had a “shop,” (an ATF controlled

undercover (UC) location).

       6.      On November 13, 2017, the CI reported that CI went to “Famouz FADEZ and

TATZ,” a barber/tattoo shop (1445 S. Sheridan Blvd., Lakewood CO). The CI reported that LUNA

was working in the barbershop. The CI reported that while inside “Famouz FADEZ and TATZ”,

LUNA showed CI a small package of suspected cocaine. CI reported that LUNA was waiting for


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an unknown individual to pick up the suspected cocaine. CI further reported that CI and LUNA

engaged in casual conversation and LUNA invited CI to meet later in the evening at Dandy Dan’s

Club.

        7.     Later on November 13, 2017, CI met with LUNA at Dandy Dan’s Club. CI reported

that LUNA was openly selling narcotics inside the club. CI reported that CI observed a large sum

of cash in the possession of LUNA. CI reported that CI and LUNA discussed the purchase of two

ounces of cocaine for two thousand dollars ($2,000.00). CI reported that LUNA told the CI that

LUNA would sell ounces for one thousand dollars each, as long as the CI purchased at least two

ounces. CI reported that CI overheard an unknown female appear to call LUNA by the first name

of “Andres”.

        8.     Between the dates of November 20, 2017 through June 15, 2018, CI exchanged

several recorded phone calls and text messages with LUNA. The context of these communications

revolved around LUNA’s sales of narcotics and firearms. At the direction of ATF SAs, CI

contacted LUNA via telephone and arranged a meeting for the purchase two (2) firearms from

LUNA, on Tuesday, June 19, 2018.

        9.     Between the dates of June 19, 2018 and July 11, 2018, ATF undercover agents SAs

5115 and 3997 (UCs) conducted the controlled purchase of multiple firearms and multiple pounds

of crystal methamphetamine from LUNA.

   B. July 25, 2018 Undercover Controlled Purchase of Firearms and Silencers from Andres
      LUNA and Jose TRUJILLO
        10.    On July 25, 2018, the UCs conducted an undercover controlled purchase with

Andres LUNA and Jose TRUJILLO. The UCs purchased two (2) firearms, an unknown

manufacturer, multi-caliber caliber rifle, with no serial number, along with one (1) silencer; and an

unknown manufacturer, multi-caliber pistol, with no serial number, along with one (1) silencer, and

one (1) Radical Firearms, Model RF-15, multi-caliber, semi-automatic rifle, bearing serial number:
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                               CRIMINAL COMPLAINT - CONTINUED


RD18835. The controlled purchase was conducted at Artwork Auto, located at 844 E. 78th Ave.,

Denver, CO, in the Judicial District of Colorado.


       11.     Prior to the controlled undercover meeting, on July 24, 2018, CI engaged in

recorded phone call communication with LUNA at (720) XXX-1320. During the call, CI asked

LUNA if he/she could provide SA 5115 with LUNA’s telephone number, so that SA 5115 could

contact LUNA directly, to which LUNA permitted. SA 5115 then engaged in recorded phone

conversations and text message communications with LUNA in order to confirm the meeting time

and location. LUNA provided the address of 844 E. 78th Ave., Denver, CO.


       12.     On July 25, 2018, at approximately 2:06 pm, the UCs arrived at the front entrance of

Artwork Auto and observed a green Ford Aspire, bearing CO license plate: 532ZMK (subsequently

identified as being registered to Jose Eduardo TRUJILLO) and a white Lincoln LS, bearing CO

license plate: LQD710. The UCs then exited the undercover vehicle (UCV) and entered the

building where they made contact with a male individual (subsequently identified as Arturo

Salcido). SA 5115 asked if LUNA was there and then another male (subsequently identified as Jose

Eduardo TRUJILLO) answered that LUNA would be arriving “in a minute”. TRUJILLO further

stated that LUNA had notified him the UCs would be arriving and then instructed the UCs to pull

around to the back garage entrance of the shop. After moving their UCV, the UCs observed Salcido

leaving in a silver Chevrolet Suburban, bearing CO license plate: BEI991. TRUJILLO then waved

for the UCs to pull the UCV into the garage area and closed the garage door after the UCs pulled in.

TRUJILLO asked what problems the UCV had and SA 3997 explained that he did not really know

that much about Audis and did not want to risk a breakdown on a longer trip. TRUJILLO

acknowledged and told the UCs to hang out in the front waiting area of the building and wait for




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                                 CRIMINAL COMPLAINT - CONTINUED


LUNA (as he checked the UCV). The UCs then walked to the waiting area and waited for LUNA’s

arrival.


           13.   On this same date, at approximately 2:49pm, the UCs heard LUNA arrive through

the back door entrance of the garage area. LUNA made his way towards the waiting area of the

building where the UCs made contact with him. LUNA was carrying a black rifle case and directed

the UCs into the front waiting area of the building, where he told SA 3997 to close the partition,

which then blocked any view through the front glass door. TRUJILLO called the teenage male,

who appeared to be his son, by the name of “Kenny,” into the garage area. LUNA then placed the

rifle case on the couch, opened it, retrieved the rifle and handed it to SA 5115, stating that it was a

“300” and that he had “got it for cheap” for the UCs. LUNA stated that this firearm would

normally sell for $1,000.00, however he was selling it to the UCs for $750.00. LUNA further

explained that his “homie” gave him a Benchmade knife for being able to sell this particular firearm

to the UCs. SA 5115 visually and physically examined the firearm and was able to observe the

make and model of the firearm (Radical Firearms, model RF-15). SA 5115 handed the firearm to

SA 3997 so that he could also visually and physically examine the firearm. LUNA referred to

TRUJILLO by the name of “Jose,” and called him over to where LUNA and the UCs were so that

TRUJILLO could also examine the firearm. SA 3997 handed the firearm to TRUJILLO, where

TRUJILLO visually and physically examined it. LUNA told TRUJILLO that the firearm had a

switch so that it could be fully automatic. TRUJILLO advised LUNA that the firearm was just

made like that and that it was not fully-automatic. TRUJILLO further stated that this firearm

“shoots like a nine”. SA 5115 asked LUNA if TRUJILLO was the person who makes the firearms.

LUNA stated that TRUJILLO was not and then stated, “The homie that makes ‘em don’t wanna

meet nobody.”


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                               CRIMINAL COMPLAINT - CONTINUED


        14.    SA 3997 followed TRUJILLO to the garage area of the building, where SA 3997

observed TRUJILLO obtain a rifle case and a cardboard box from the area of a yellow Snap On tool

box and tool cabinet along the east wall of the garage area. TRUJILLO set the rifle case and

cardboard box on a mechanic work stand and opened the black plastic rifle case and the UCs

observed an AR-15 type rifle and AR-15 type pistol and two (2) boxes of 5.56 mm ammunition

inside the rifle case. TRUJILLO opened the white cardboard box, which the UCs observed had the

markings, “Matrix Arms” on the outside of the box. TRUJILLO removed a black metal silencer

with no markings from the box and showed the silencer to the UCs. TRUJILLO then handed it to

LUNA. TRUJILLO briefly walked back towards the area where he had retrieved the firearms and

quickly returned, holding a second silencer with him. This was a larger black metal silencer that

appeared to have been manufactured from a black Mag-Lite flashlight. He placed this silencer on

the mechanic work stand for the UCs to observe. TRUJILLO stated that this silencer was not

painted yet, however that it went on the AR-15 type rifle.


        15.    LUNA asked TRUJILLO how the silencers “go on” the firearms and TRUJILLO

walked back to a tool box and the UCs could hear TRUJILLO rummaging through metal tools. SA

5115 asked LUNA again if TRUJILLO was not “Danny” and LUNA confirmed, stating that

TRUJILLO was “the other mechanic.” LUNA continued to show the UCs the firearms and

TRUJILLO returned with multiple wrenches, which he set down near the firearms. SA 5115 asked

TRUJILLO if the second silencer TRUJILLO brought used to be a Mag-Lite. TRUJILLO stated

that it was, and he unscrewed one of the end caps so that the SAs could see what TRUJILLO stated

were “baffles” inside of the tube. TRUJILLO then attached the smaller, black metal silencer on the

AR-15 type pistol and explained that the silencer would “fully” function with “subsonic

ammunition”. LUNA added that “it shoots so hot, no matter what you do, it breaks the sound

barrier”.
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                                CRIMINAL COMPLAINT - CONTINUED


       16.     TRUJILLO stated that the Mag-Lite silencer had a “twelve baffle system” and added

that the AR-15 type rifle was a “ghost gun”. SA 3997 then stated, “Yeah like those other ones,

right?” referring to the “ghost guns” the UCs had previously purchased from LUNA. TRUJILLO

replied, “Yeah, there’s no marks on them, nothing… That’s what…our friend does.” TRUJILLO

explained that the silencers were also interchangeable and further explained in reference to the

firearms, that one could tell “he builds them out… 80%”. LUNA moved to the front waiting area,

so that he could sit down (for health reasons). TRUJILLO explained that the “best part” about

firearms was that fact that they did not have “serial numbers”. TRUJILLO added that the firearms

were legal to own and stated, “you just have to tell em that you build em.” TRUJILLO further

stated that the silencers “are not” legal to own and that “if you wanna make em, you have to pay the

$200.00 tax stamp.” TRUJILLO added that was the reason he did not have the silencers attached to

the firearms, specifically in the event he was “pulled over.” SA 3997 and TRUJILLO then walked

back towards the UCV, where TRUJILLO told “Kenny”, to show SA 3997 a video of TRUJILLO

shooting the AR-15 type pistol with a silencer attached to it on his phone. TRUJILLO stated that

the video was taken in the basement of his residence, where he stated that he shot the AR-15 pistol

with the silencer attached and no one was able to hear the pistol firing in the upstairs of the

residence. TRUJILLO then showed SA 3997 the video, and SA 3997 observed TRUJILLO

shooting the aforementioned AR-15 pistol with the attached silencer through a stack of books

placed on a nightstand or end table in the basement of a residence.


       17.     Utilizing the pre-recorded, ATF Agent Cashier Funds U.S. currency/buy money, SA

5115 purchased the two (2) firearms, an unknown manufacturer, multi-caliber caliber rifle, with no

serial number, along with one (1) silencer; and an unknown manufacturer, multi-caliber pistol, with

no serial number, along with one (1) silencer, for $4,700.00. SA 3997 purchased one (1) Radical


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Firearms, Model RF-15, multi-caliber, semi-automatic rifle, bearing serial number: 18835, for

$750.00.


   C. August 29, 2018 Undercover Controlled Purchase of Firearms and Silencers from Andres
      LUNA and Jose TRUJILLO
       18.     On August 29, 2018, the UCs conducted an undercover controlled purchase with

LUNA and TRUJILLO. The UCs purchased three (3) firearms; an unknown manufacturer, multi-

caliber (.223/5.56mm) rifle with no serial number, an unknown manufacturer multi-caliber

(.223/5.56mm) pistol with no serial number, and an Aero Precision Model X15 multi-caliber

(.223/5.56mm) rifle, bearing serial number X155251. The UCs also purchased two (2) unknown

manufacturer silencers with no serial numbers. The undercover controlled purchase was conducted

at Artwork Auto, located at 844 E. 78th Ave., Denver, CO 80229, in the Judicial District of

Colorado.


       19.     Prior to the controlled undercover meeting, beginning on July 26, 2018, SA 5115 and

LUNA engaged in cell phone text message communication. The purpose of this communication

was to arrange for the purchase of firearms, silencers and methamphetamine. SA 5115 and LUNA

eventually agreed to meet at Artwork Auto, located at 844 E. 78th Ave., Denver, CO, on August 29,

2018, to conduct a transaction of two (2) firearms and one (1) silencer for $3,700.00 and one (1)

pound of crystal methamphetamine for $4,000.00.


       20.     On August 29, 2018, at approximately 2:28pm, the UCs arrived at Artwork Auto in

the UCV, driven by SA 3997. The UCs observed that there was silver Ford Taurus bearing

Colorado license plate number MQX658 and a teal green Ford Aspire bearing Colorado license

plate number 532ZMK parked in front of the business upon their arrival.

       21.     Once inside the business, the UCs greeted LUNA, who immediately started talking

about his methamphetamine source and stated that the source was on his way to the shop, but
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                                CRIMINAL COMPLAINT - CONTINUED


wanted to know for sure if the UCs still wanted the methamphetamine. LUNA further stated that

the narcotics source had been ready to deliver methamphetamine to LUNA for the UCs on previous

occasions when it didn’t work out.

        22.     The UCs briefly left the front office area to move the undercover vehicle to the rear

of the business and subsequently returned to the rear garage warehouse area of the business shortly

thereafter, where they observed TRUJILO, Danny MAINUS, and another unidentified Hispanic

male in the rear garage area of the business. The UCs were then introduced to MAINUS, who

introduced himself as “Daniel”, and who was working on a black Ford Mustang in the garage area.

        23.     SA 5115 asked LUNA if MAINUS was the individual making the firearms, and

LUNA replied, “No, the other homey, cause he wanted to show you some other shit. Remember

you said you want to see some fancy, fancy shit. He makes some fancy shit. He knows more what

to say, to order.”

        24.     LUNA waited for MAINUS and one of the two unknown Hispanic males, who was

apparently a customer of the business, to walk out of the rear garage area business and then looked

at TRUJILLO and said, “You ready? I don’t know where you have them.” TRUJILLO looked at a

some grey lockers against the west wall of the garage/warehouse area and replied, “In the first one,

no, the other first one, and on the top of the locker,” and LUNA then subsequently opened one of

the lockers and removed two soft black nylon cases containing firearms, and SA 3997 assisted

LUNA in obtaining the third firearm from a black plastic hard case that was on top of the lockers.

LUNA and SA 3997 then carried the firearms to a table in the rear garage area and put the firearms

on the table for the UCs to examine.

        25.     The UCs both observed that the two black nylon soft cases contained two AR-15

type multi-caliber firearms, one rifle, and one pistol, with no additional markings, and one black

metal silencer. The UCs also observed that there was an additional firearm, a customized AR-15

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 type rifle and a second silencer, in the black plastic hard case that were not previously discussed

 between LUNA and SA 5115 prior to the undercover contact. As the UCs began examining the

 firearms, LUNA stated that they needed to lock the front door of the business and move a screen in

 front of the window.

        26.     LUNA and TRUJILLO then began describing the firearms to the UCs. LUNA

 referred to the additional AR-15 type rifle in the black plastic hard case and stated, “These are the

 high end ones,” and TRUJILLO stated, “Yeah, this is the top of the line. And for future, there’s

 going to be a future, no caps, it’s a muzzle break, right?” TRUJILLO then proceeded to show the

 UCs a custom machined muzzle break that could be screwed on to the end of a rifle barrel, that also

 had additional threading on the outside of the muzzle break so it could directly accept a silencer

 without additional modifications. TRUJILLO referred to the AR-15 type pistol in one of the black

 nylon soft cases and showed the UCs that the pistol had been modified with custom handguards to

 allow a silencer to be attached to the barrel so that the pistol would actually appear to be the length

 of a rifle when the silencer was attached. TRUJILLO showed the UCs how to remove the silencers

 from each of the other firearms and then interchange them with the other rifles and stated, “You can

 put it on this one and make it even shorter.”

        27.     SA 5115 asked TRUJILLO how long it took him to make the firearms and how long

 it took to thread the barrels, and TRUJILLO stated that the barrels to the firearms were already

 threaded. TRUJILLO then stated, “On the new ones that he’s working on, there’s going to be this

 muzzle break up front, so instead of taking it off and taking it on, so that will be like that,” and

 TRUJILLO then proceeded to thread a muzzle break that would directly accept a silencer onto one

 of the rifles. As TRUJILLO was describing the modifications on the custom AR-15 rifle to SA

 3997, LUNA was handling the other AR-15 type rifle and placed a rifle magazine into the rifle and

 handed the firearm to SA 5115 and stated, “Modified AR, this one’s a G ($1000.00), that one’s a

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 nice one.” TRUJILLO then stated, “On the new one’s that he’s working on, there’s going to be this

 muzzle break up from, so instead of taking it off and putting it back on … everything’s going to

 thread and you don’t have to take anything off, but that’s like the future.”

        28.     TRUJILLO again referred to the custom rifle and stated, “Nickel boron on that one.

 This one’s custom to the brim. If you notice this one doesn’t have a dust cover or a forward assist.”

 TRUJILLO also showed the UCs several boxes of rifle ammunition that were included with the

 firearms and explained that he used heavier bullets when shooting the rifles with the new

 customized muzzle breaks. LUNA stated, “Yeah when you said you wanted to see some fancy

 pretty stuff.” SA 5115 and LUNA discussed the sale price for the firearms and silencers. SA 3997

 briefly left the garage area of the business and went outside to drive the undercover vehicle up to

 the garage door of the business so the UCs could load the purchased firearms and silencers into the

 undercover vehicle.

        29.     Utilizing the pre-recorded, ATF Agent Cashier Funds U.S. currency/buy money, SA

 5115 counted out $3700.00 and handed it to LUNA for the purchase of two (2) firearms: an

 unknown manufacturer, multi-caliber (.223/5.56mm) rifle with no serial number, an unknown

 manufacturer multi-caliber (.223/5.56mm) pistol with no serial number, and (1) one unknown

 manufacturer silencer with no serial number. SA 3997 then counted out $4500.00 and handed it to

 LUNA for the purchase of one (1) Aero Precision Model X15 multi-caliber (.223/5.56mm) rifle

 bearing serial number X155251, and one (1) one unknown manufacturer silencer with no serial

 number.

    D. October 30, 2018 Undercover Controlled Purchase of Firearms from Andres LUNA

        30.     On October 30, 2018, the UCs conducted an undercover controlled purchase of four

 (4) firearms, an unknown make, unknown model, unknown serial number (Ghost Gun), AR-Type,

 .223/5.56 caliber rifle, an unknown make, unknown model, unknown serial number (Ghost Gun),

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 AR-Type, .300 AAC caliber rifle, an unknown make, unknown model, unknown serial number

 (Ghost Gun), AR-Type, .223/5.56 caliber rifle, and a Glock, model 17, 9mm x 19 caliber, machine

 gun (pistol), bearing serial number: NAG583. The purchase was conducted at Artwork Auto,

 located at 844 E. 78th Ave., Denver, CO, in the Judicial District of Colorado.

        31.     Prior to the meeting, beginning on October, 25, 2018, SA 5115 and LUNA engaged

 in recorded text message communication, which continued until October 30, 2018. The purpose of

 this communication was to arrange an in-person meeting, where the UCs would present LUNA and

 his firearms supplier with the opportunity to meet the UC’s cartel firearms purchaser. No

 arrangements were made for the UCs to purchase firearms. LUNA agreed and suggested the

 meeting take place at his “shop”, (Artwork Auto).

        32.     On October 30, 2018, at approximately 12:28 pm, the UCs arrived at the front

 entrance of Artwork Auto and again observed a green Ford Aspire, bearing CO license plate:

 532ZMK (previously identified as being registered to Jose Eduardo TRUJILLO). The UCs entered

 the building and immediately made contact with LUNA. Upon entering, LUNA told SA 5115 that

 SA 5115 was “going to be happy today”. LUNA led the UCs to the garage area of the building,

 where TRUJILLO was present. LUNA retrieved a Glock pistol, which had been converted to a

 fully-automatic firearm, from the top of a tool box (where there was two more rifle cases), and

 handed the fully-automatic pistol to SA 3997. LUNA explained to the UCs that it was a “fully

 automatic” “Glock 17” and then proceeded to show the UCs a video on his cell phone, of a Glock

 which had been converted in the same manner as this one. It should be noted that the video was not

 of this particular firearm being fired, nor did it portray anyone known to be associated with LUNA.

 LUNA further explained that the switch on the back of the firearm allowed it to shoot in either a

 semi-automatic or fully-automatic mode. LUNA advised the UCs to only operate the firearm using



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 small magazines because if larger capacity magazines were used, it would “burn up” the “gun”,

 “barrel” and “springs”.

        33.     SA 5115 stated that SA 5115 did not expect LUNA to have this, nor any other

 firearms available to sell on this date. SA 5115 proceeded to explain the reason the UCs wanted to

 meet with LUNA in person was to advise him that SA 5115 had been “down south” with his “gente

 [people]” and that they “liked” all of the firearms and silencers that the UCs had purchased from

 LUNA. SA 5115 explained that as a result, they wanted to send a member of their organization,

 which is the member that SA 5115 dealt with and regarded as a cousin, to meet with LUNA and the

 person who was manufacturing the firearms (LUNA’s firearms source of supply (SOS)). SA 5115

 further explained that the purpose of this meeting was only a formality so that the firearms

 purchasers could make sure that “everything’s good”. LUNA stated that “he,” referring to the

 firearms SOS, “won’t talk to nobody.”

        34.     TRUJILLO stated that they could now sell all of the firearms with the option of

 being “full-auto”. LUNA added by stating, “We got full-auto for everything now.” SA 5115 stated

 that another reason why his buyer wanted to speak in person was to be able to discuss prices,

 quantities of firearms, and how often and how many firearms LUNA and his associates would be

 able to produce. SA 5115 stated that they [his cartel buyers] “were going to war” and needed

 firearms, to which LUNA stated that they would have the “winning weapons”. The UCs

 affirmatively acknowledged.

        35.     SA 5115 stated that their buyers would be interested in the fully-automatic Glock

 pistols. LUNA stated that those were “hard to get” and TRUJILLO and LUNA directed the

 attention of the UCs to the other firearms, which were two (2) separate gun cases, sitting on top of

 the yellow tool box. LUNA retrieved one of the firearms from the soft rifle case and TRUJILLO

 quickly began to remove the muzzle break, while LUNA was still holding the rifle, so that he could

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 show the UCs how to attach a silencer. LUNA referred to the rifle as being “hush-hush ready”.

 TRUJILLO retrieved multiple silencers, which he had nearby. Each silencer was wrapped

 individually in plastic, inside separate cardboard boxes. TRUJILLO explained to and showed the

 UCs how each silencer could be mounted on the rifles and LUNA added that one of the silencers

 could even be mounted on the .300 AAC caliber rifle. LUNA retrieved another rifle, which he

 stated was a “stainless steel 300” and loaded an empty magazine, which TRUJILLO stated was a

 “forty round mag”. LUNA handed the rifle to SA 3997 to examine. TRUJILLO continued to

 explain how the silencers were interchangeable between rifles and stated, “We’ve made some

 improvements on the threads and stuff.”

         36.      LUNA retrieved one of the .223/556 caliber rifles from on top of the tool box and

 LUNA and TRUJILLO showed and explained to the UCs that the rifles were also equipped with

 optics, they described as “blue, red, green” “dot” optics. TRUJILLO proceeded to show the UCs a

 video on his cell phone of TRUJILLO test firing the .300 AAC caliber rifle. The video showed

 TRUJILLO firing the rifle into a stack of books on a table, while in his basement. (It should be

 noted that TRUJILLO had previously shown the UCs another video of him test firing a silencer, in

 his basement, in the same manner). TRUJILLO explained that although it sounded like the firearm

 was shooting one round, it was in fact firing “three bullets” in “that one sound”. SA 5115 asked if

 the rifle was fully-automatic at this time. TRUJILLO stated that it was not, however that all of the

 rifles were “auto ready”. TRUJILLO retrieved a small plastic baggie, containing multiple metal

 Auto Connectors, more commonly known as “Lightning Links”. 1 TRUJILLO explained that most


 1
   Under Title 26 U.S. Code § 5845(b), Auto Connectors (“Lightning Links”) are considered machineguns, whereas the
 term “machinegun” means any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
 automatically more than one shot, without manual reloading, by a single function of the trigger. The term shall also
 include the frame or receiver of any such weapon, any part designed and intended solely and exclusively, or
 combination of parts designed and intended, for use in converting a weapon into a machinegun, and any combination of
 parts from which a machinegun can be assembled if such parts are in the possession or under the control of a person.
 Under Title 26 U.S. Code § 5861(d), it is unlawful for any person to receive or possess a firearm which is not
 registered to him in the National Firearms Registration and Transfer Record (NFRTR).
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                                 CRIMINAL COMPLAINT - CONTINUED


 of the Lightning Links are “matched to the gun” and stated, “We’ll get ‘em close, and then…fine

 tune ‘em.” TRUJILLO inserted a Lightning Link into the lower receiver one of the .223/556 caliber

 rifles and proceeded to function test the rifle. This was performed by charging the rifle and pressing

 the trigger, so that one can hear the firing pin fall forward, on an empty chamber. The trigger is

 maintained depressed, while the rifle is charged again and when the trigger is released, there is no

 resetting of the trigger, as the Lightning Link has now enabled the firearm to function as a fully-

 automatic weapon. TRUJILLO stated that now the firearm was “fully” and that it was “fuckin’

 fast” and “caught” him “by surprise”. The UCs affirmatively acknowledged and TRUJILLO

 removed the Lightning Link from the rifle and placed it back into the plastic baggie. LUNA

 retrieved a third .223/556 caliber rifle from on top of the tool box, which the UCs did not know was

 there. The UCs and LUNA negotiated the prices for the purchase of the firearms.

        37.     Utilizing the pre-recorded, ATF Agent Cashier Funds U.S. currency/buy money, SA

 3997 then paid LUNA $1,500.00, for the purchase of the Glock, model 17, 9mm x 19 caliber,

 machine gun (pistol), bearing serial number: NAG583. SA 5115 then paid LUNA $4,500.00, for

 the purchase of three (3) firearms: an unknown make, unknown model, unknown serial number

 (Ghost Gun), AR-Type, .223/5.56 caliber rifle, an unknown make, unknown model, unknown serial

 number (Ghost Gun), AR-Type, .300 AAC caliber rifle, and an unknown make, unknown model,

 unknown serial number (Ghost Gun), AR-Type, .223/5.56 caliber rifle.


    E. November 8, 2018 Undercover Controlled Purchas of a Firearm (Machinegun), Silencers
       and Auto Connectors (Lightning Links) from Andres LUNA
        38.     On November 8, 2018, the UCs conducted an undercover controlled purchase from

 LUNA. The purchase was of three (3) unknown make, unknown model and unknown serial number

 silencers for $3,000.00; one (1) Surplus Ammo & Arms, model LOW15, multi-caliber, fully

 automatic rifle (machinegun), bearing serial number: SA08638; and two (2) Auto Connectors


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                                  CRIMINAL COMPLAINT - CONTINUED


 (“Lightning Links”), for $2,000.00. The purchase was conducted at an ATF controlled undercover

 location, in Denver, CO, in the Judicial District of Colorado.

         39.       Prior to the meeting, beginning on November 6, 2018, SA 5115 and LUNA engaged

 in recorded text message communication, which ensued until November 8, 2018. The purpose of

 this communication was to arrange for the purchase of one (1) firearm, three (3) silencers and two

 (2) Lightning Links, as well as for LUNA to meet with the UC’s Mexican Cartel firearms buyer

 (ATF SA 4155). LUNA agreed to meet the UCs at the ATF controlled UC location.

         40.       At approximately 2:02 pm, LUNA arrived at rear garage entrance of the ATF

 controlled undercover location. SA 5115 opened the garage door and observed LUNA carrying a

 black rifle case and another black bag. SA 5115 and LUNA walked to the living room area of the

 UC location, where SA 3997 was present and where LUNA was introduced to SA 4155. LUNA

 stated that he brought the three (silencers), the “drop ins, with instructions” (Lighting Links), and

 the one rifle that he had “on sale”. The UCs acknowledged and LUNA proceeded to remove the

 rifle from the soft rifle case, saying that it was a “sniper one”, displaying that it had a “sniper scope”

 attached to it.

         41.       LUNA retrieved a cardboard box from the black bag he had brought, which

 contained the three (3) silencers and the Lightning Links. LUNA removed the silencers from the

 box, which were individually packaged in plastic bags, and then removed the Lighting Links, which

 were also individually packaged in small plastic bags. LUNA handed one of the Lighting Links to

 SA 5115, who then handed it to SA 4155 to examine. SA 4155 asked LUNA how they worked, and

 LUNA explained that the pin needed to be removed (so the lower receiver of the rifle) could be

 opened, “then you drop it in”. SA 4155 asked LUNA what it was for and LUNA stated that it was a

 “sears pin” and explained that it allowed for the firearm to function in a fully-automatic capacity.



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                                CRIMINAL COMPLAINT - CONTINUED


        42.     The UCs and LUNA began to discuss prices for the purchase of the firearm, silencers

 and Lightning Links. Utilizing the pre-recorded, ATF Agent Cashier Funds U.S. currency/buy

 money, SA 4155 paid LUNA $2,000.00, for the purchase of two (2) Lightning Links. SA 3997 paid

 LUNA $1,800.00, for the purchase of the Surplus Ammo & Arms, model LOW15, multi-caliber,

 fully automatic rifle (machinegun), bearing serial number: SA08638. SA 5115 paid LUNA

 $3,000.00, for the purchase of three (3), unknown make, unknown model, silencers, with no serial

 numbers.

        43.     After further discussion, LUNA eventually agreed to meet with the UCs at a later

 date, to provide the UCs with fifteen (15) AR-Type rifles and ten (10) Lightning Links. The UCs

 and LUNA then exited the front door of the UC location, where Jose TRUJILLO, (previously

 identified), arrived to in a 1995 gold Nissan Maxima, bearing CO license plate number: CUF142, to

 pick up LUNA. (It should be noted that surveillance SAs observed LUNA arrive to the UC location

 in this same vehicle. LUNA was dropped off in the alley way, behind the UC location. LUNA

 removed a black rifle case and another black bag from the trunk, before walking to the garage door

 of the UC location.) The UCs approached TRUJILLO, while he remained in the vehicle, curbside

 and greeted him. LUNA entered the vehicle and departed from the UC location with TRUJILLO.

    F. National Firearms Act (NFA) Weapon Determination

        44.     On September 8, 2018, ATF SA Alan Breneman obtained a report from the ATF

 Firearms Technology Criminal Branch (FTCB). The two silencers purchased during the July 25,

 2018 UC purchase, were examined by Firearms Enforcement Officer (FEO) Ronald Davis. FEO

 Davis determined that each silencer is defined as “firearm silencer”, as defined in 18 U.S.C.

 921(2)(3) and 26 U.S.C. 5845(a)(7).

        45.     On September 25, 2018, SA Breneman obtained a report from the ATF FTCB. The

 two silencers purchased during the August 29, 2018 UC purchase, were examined by FEO

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                                 CRIMINAL COMPLAINT - CONTINUED


 Davis. FEO Davis determined that each silencer is defined as “firearm silencer”, as defined in 18

 U.S.C. 921(2)(3) and 26 U.S.C. 5845(a)(7).

        46.     On November 14, 2018, SA Breneman obtained a report from the ATF FTCB. The

 Glock, model 17, 9mm x 19 caliber, machine gun (pistol), bearing serial number: NAG583,

 purchased during the October 30, 2018 UC purchase, was examined by FEO Davis, and determined

 to be a machinegun, as defined in 26 U.S.C. 5845(1)(6).

    G. National Firearms Act (NFA) Records Search

        47.     The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) National Firearms

 Act (NFA) Branch is responsible for the effective administration of the National Firearms Act, 26

 U.S.C. Chapter 53. In accordance with the laws and regulations, the NFA Branch maintains the

 National Firearms Registration and Transfer Record (NFRTR), which is the central registry of all

 firearms, as defined in 26 U.S.C. § 5845, with the exception of NFA firearms in the possession or

 control of an agency of the U.S. Government. In the registry, the NFA Branch records the firearm’s

 identification, the date of registration, and the name and address of the person entitled to legally

 possess the firearm. Under Title 26 U.S.C. § 5861(d), it shall be unlawful for any person to receive

 or possess a firearm which is not registered to that person in the NFRTR.

        48.     On November 26, 2018, ATF SA Carlos Valles submitted an NFA Records Search

 via ATF Form 5320.22, identifiable with Andres LUNA and Jose TRUJILLO, to the ATF NFA

 Branch. On November 26, 2018, the ATF NFA Branch notified SA Valles that there are no NFA

 weapons currently registered to LUNA and/or TRUJILLO in the NFRTR.


        49.     Based upon the above information, your affiant believes that between the dates of on

 or about July 25, 2018 through November 8, 2018, Jose Eduardo TRUJILLO possessed firearm(s)

 which have not been registered in the National Firearms Registration and Transfer Record


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                                      CRIMINAL COMPLAINT - CONTINUED


       (NFRTR), in violation of Title 26 U.S.C. § 5861(d). These violations occurred in the District of

       Colorado.



              I, Carlos Valles, being duly sworn according to law, depose and say that the facts

        stated in the foregoing affidavit are true and correct to the best of my knowledge, information

        and belief.


        Dated: November 26, 2018


__s/Carlos Valles_______________________________
Carlos Valles, Special Agent
Bureau of Alcohol, Tobacco, Firearms, and Explosives

                                       WK
Sworn to and subscribed before me this __ day of November 2018.


___________________________________
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  __ _ ______
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           __________
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NINA Y. WANG
UNITED STATES MAGISTRATE JUDGE


       Application was reviewed and is submitted by Celeste Rangel, Assistant United States
       Attorney.




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